          Case 1:19-cr-00060-SDT Document 44 Filed 09/27/19 Page 1 of 2



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA                       *
                                                *
                v.                              *
                                                * CRIMINAL NO. SDT-19-060
 JAMES IAN PICCIRILLI,                          *
                                                *
         Defendant.                             *
                                                *
                                             *******

                         MOTION OF THE UNITED STATES TO
                       SCHEDULE A CHANGE OF PLEA HEARING

       Comes now the United States of America, by Brandon Moore and Patricia McLane,

Assistant United States Attorneys for the District of Maryland, to respectfully request that the

Court set a date, time, and location for a guilty plea hearing to be held with regard to the above-

styled case.

       The parties are available November 4 and November 5, 2019.


                                                     Respectfully submitted,

                                                     Robert K. Hur
                                                     United States Attorney


                                                                    /s/
                                                     Brandon Moore
                                                     Patricia McLane
                                                     Assistant United States Attorneys
                                                     36 S. Charles Street, Fourth Floor
                                                     Baltimore, Maryland 21201
                                                     Phone: (410) 209-4800

Date: September 27, 2019
         Case 1:19-cr-00060-SDT Document 44 Filed 09/27/19 Page 2 of 2



                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 27th day of September, 2019, a copy of the foregoing

motion was served via CM/ECF to all counsel of record.



                                                                  /s/
                                                  Brandon Moore
                                                  Assistant United States Attorney




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